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                Exhibit 11
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         Infringement Claim Chart for U.S. Pat. No. US7269253B1 v. OnePlus
                                   (“Defendant”)
   Claim 10                                                  Evidence

10. A           The OnePlus Customer Service performs a method for communicating in a communication network.
communication
                For Example, OnePlus Customer Service performs a method of communicating by establishing, over a
s method        communication network, a call between callers with a request to the appropriate department for
comprising:     assistance.




                Source: Contact us (oneplus.com)
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Source: Live Chat - OnePlus (custhelp.com)
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(a) receiving a   The OnePlus Customer Service receives a plurality of communications, each having associated
plurality of      classification information.
communications,
each having       For example, OnePlus Customer Service receives calls from multiple callers. For each call, a user provides
associated        information about the nature of the call by selecting the appropriate department from the given choices
classification    via keypad entry. The responses are used to classify the call.
information;




                  Source: Contact us (oneplus.com)
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Source: Live Chat - OnePlus (custhelp.com)
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(b) storing             The OnePlus Customer Service maintains information about potential targets that includes support agents,
information             departments, or specific resources capable of handling different types of inquiries.
representing
characteristics of at   For example, OnePlus Customer Service stores information about the skill set possessed by agents who are
least three             potential targets of the call. OnePlus employs numerous agents, at least three of which possess the skill
potential targets;      set required by the call.
and




                        Source: Contact us (oneplus.com)
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(c) determining, in   The OnePlus Customer Service determines an optimum target for each communication based on the
a combinatorial       communication classification and target characteristics using a combinatorial optimization comparing at
optimization, an      least three potential targets.
optimum target for
each                  For example, OnePlus Customer Service analyses the caller selection to determine one or more skills that
communication         an agent who is selected to receive the call should have in order to provide the caller with the requested
based on the          assistance. The system determines the potential agent based on the communication classification and
communication         performs automated skill-based routing of calls using Zendesk Omnichannel support (i.e., a combinatorial
classification, and   optimization).
target
characteristics.




                      Source: Contact us (oneplus.com)
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Source: Live Chat - OnePlus (custhelp.com)
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Source: OnePlus Customer Service & Service Center Details - OnePlus Appliances & Mobile - Best Service
Near Me (1stbestservice.com)




Source: OnePlus Chose Zendesk for its Global Omnichannel solution - PCQuest
